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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TEXAS
                          BEAUMONT, TEXAS, DIVISION

ESTHER CHAVEZ, on behalf of,     §
JOSE CARLOS ESQUIVEL CHAVEZ,     §
a minor child and next kin of    §
Raul Esquivel Navarrete (Deceased),
                                 §
Plaintiff,                       §                   Civil Action No. :
                                 §
v.                               §
                                 §
DUNLOP, LTD. and GOODYEAR DUNLOP §
TIRES NORTH AMERICA, LTD.        §
      Defendants.                §


                          PLAINTIFF’S ORIGINAL COMPLAINT



                                             I. Parties

       1.01    Plaintiff, ESTHER CHAVEZ, on behalf of, JOSE CARLOS ESQUIVEL CHAVEZ,

A Minor Child And Next Kin of Raul Esquivel Navarrete (Deceased), who brings her claims on

behalf of the minor child as next of kin and sole remaining heir at law of RAUL ESQUIVEL

NAVARRETE, is a resident of the Country of Mexico, as is the minor child.

       1.02    Defendant, DUNLOP, LTD., is a corporation that is incorporated under the laws of

the State of Ohio. Defendant has its principal place of business in the State of Ohio. Defendant may

be served with process by serving its registered agent, Gregory R. Glick, at 23200 Chagrin Blvd.,

Suite 600, Beachwood, Ohio 44122.

       1.03    Defendant, GOODYEAR DUNLOP TIRES NORTH AMERICA, LTD. (State of

Ohio Corporation), is a corporation that is incorporated under the laws of the State of Ohio.

Defendant has its principal place of business in the State of Ohio. Defendant may be served with

process by serving its registered agent, CT Corporation System, at 1300 E. 9th Street, Cleveland,


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Ohio 44114.



                                      II. Jurisdiction and Venue

       2.01    Diverse Citizenship: The court has jurisdiction over the lawsuit because the Plaintiff’s

in this action action are of diverse citizenship. More specifically, Plaintiff, ESTHER CHAVEZ, on

behalf of, JOSE CARLOS ESQUIVEL CHAVEZ, is a citizen of the Country of Mexico.

       2.02    Amount in Controversy: The present aggregate amount in controversy exceeds

$75,000.00, excluding interest and costs.

       2.03    Federal Question: The court has jurisdiction over the lawsuit because the action

arises under the Federal Tort Claims Act, 28 U.S.C. § 1346(b).



                                   III. Acts of Agents of Defendants

       3.00    Whenever in this Complaint it is alleged that a Defendant did any act or thing or

failed to do any act or thing, it is meant that the officers, agents, or employees of said Defendant,

respectively performed, participated in, or failed to perform the acts or things alleged while in the

course and scope of their employment or agency relationship with said Defendant.



                                              VI. Facts

       4.01    On August 23, 2003,         JOSE R. ESQUIVEL was driving his vehicle which

encountered a sudden catastrophic tire failure which ultimately caused a loss of control of the

vehicle and ended in a rollover.

       4.02    Inside the vehicle were JOSE R. ESQUIVEL, ADOLFO ESQUIVEL, KRISTIN R.

GAY, ORLANDO DOTTOR, LUIS NAPOLEON GARCIA ESQUIVEL, and Decedent, RAUL

ESQUIVEL NAVARRETE.

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       4.03    At the time of the accident, the automobile in question, was traveling on Interstate

Highway 30. The accident occurred at mile marker 208 just west of the city of Hooks, Bowie

County, Texas.

       4.04    As a proximate result of the tire failure, RAUL ESQUIVEL NAVARRETE suffered

bodily injury resulting in his death.



                                            V. Liability

       5.01    As a direct and proximate cause of each and every element of liability, breach, act

of negligence, gross negligence, and/or other causes of action plead henceforth, please note that

JOSE CARLOS ESQUIVEL CHAVEZ suffered the loss of his father, RAUL ESQUIVEL

NAVARRETE who died as a result of the accident.

       5.02    Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., were engaged in the business of development, and/or design, and/or

manufacturing, and/or sales, and/or distribution, of the tire made the basis of this suit. Development,

and/or design, and/or manufacturing, and/or sales, and/or distribution, of the tire in question

constitutes actual and/or constructive introduction of these tires into the public stream of commerce.

The tire in question was in a defective condition which made it unreasonably dangerous to the user

or consumer. The defect existed at the time of its conception of design and continued until the tire

left the Defendants’ control. The driver of the vehicle in question, JOSE R. ESQUIVEL was using

the tire in the manner intended for its use, or in a reasonably foreseeable usage. Additionally,

Defendants knew or should have known of a risk of harm to the user of the tire, and as such

breached their duty to warn the end user of such risk. Lack of warning added to the tire’s defective

condition and was an additional factor in the death and injuries sustained in this accident.




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                               VI. Count 1- Strict Product Liability

        6.01   Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., should be charged with Strict Product Liability as applicable under Texas state

law and 402(a)(b) Restatement, 2nd of Torts. The tire in question was unreasonably dangerous.

Manufacturing and distribution of these tires constitutes actual and/or constructive introduction of

defective tires into the public stream of commerce. The tire in question was in a defective condition

which made it unreasonably dangerous to the user or consumer. This defect existed at the time the

tire in question left the Defendants’ control. The driver of the vehicle in question, JOSE R.

ESQUIVEL was using the tire in the manner intended for its use, or in a reasonably foreseeable

usage. Additionally, these Defendants knew or should have known of a risk of harm to the user of

the tire, and as such breached their duty to warn the end user of such risk. Lack of warning added

to the tire’s defective condition and was an additional factor in the death and injuries sustained in

this accident. The subject tire was unreasonably dangerously defective in one or more the following

particulars:

        a.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to warn of the inherent dangers in the design and
               construction of the tire and specifically did not provide adequate warnings
               of the propensity and/or dangers of a tread separation;

        b.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to warn that a tread separation would dramatically
               alter the handling and stability capabilities of the vehicle, thus making it
               difficult, if not impossible, to operate the vehicle in a safe manner;

        c.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. designed and manufactured the subject tire without a
               nylon cap so as to reduce the degrading heat effects along the belt edge;

        d.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. designed, manufactured, and sold the subject tire with
               materials contaminated from foreign substances. The contamination
               occurred as a result of improper handling, storage and use of the tire
               components;

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       e.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to design and build a tire that would not
               catastrophically fail during it’s normal and intended use;

       f.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to properly inspect and test the subject tire;

       g.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to maintain and/or establish adequate quality control
               parameters to ensure the product met internal design and manufacturing
               standards;

       h.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to warn that the components of the tire and/or the
               adhesive properties bonding the components of the tire might prematurely
               fail prior to any outward visible defect that the owner could observe;

       i.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to use materials in the construction of the subject
               tire that would maintain their adhesive qualities; and

       j.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
               AMERICA, LTD. failed to adequately test the subject tire to determine if it
               was safe for the consuming public.

       6.02    Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., should be charged with Strict Product Liability pursuant to Texas Civil Practice

and Remedies Code Section 82.005 (Design Defect). There was a safer alternative design to the tire

in question and the defect was a producing cause of the personal injury, property damage, and death

for which the Plaintiffs seek recovery. A “safer alternative design” (a product design other than the

one actually used) in reasonable probability would have prevented or significantly reduced the risk

of the Plaintiffs’ personal injuries, property damage, and death without substantially impairing the

product’s utility and was economically and technologically feasible at the time the product left the

control of the manufacturer or seller by the application of existing or reasonably achievable

scientific knowledge.

       6.03    Additionally and/or alternatively, the risk of injury associated with the defects set

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forth above outweighed the utility of the tire as designed and installed in the subject vehicle at the

time of the accident made the basis of this lawsuit. Defendants, DUNLOP, LTD. and GOODYEAR

DUNLOP TIRES NORTH AMERICA, LTD. knew or should have known of some or all of the

foregoing defective and dangerous conditions yet failed to warn or inform Plaintiffs of same and

instead negligently misrepresented to Plaintiffs that the subject tire was a safe tire.




                VII. Count 2 - Breach of Express Warranty and Implied Warranty

       7.01    Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., breached its written and/or implied warranty. Under the Uniform Commercial

Code there is an implied warranty of merchantability. Additionally, Defendants breached an

implied warranty that the tire in question is free of latent defects. The tire in question was not free

from defects and was inherently unsafe. Defendants’ product was known by Defendants to be

unsafe and to possess latent defects.



                                  VIII. Count 3 - Failure to Warn

       8.01    Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., knew or should have known of a risk of harm to the user of the tire in question

and/or such tires generally, and as such breached their duty to warn the end user of such risk. Lack

of warning added to the tire’s defective condition and was an additional factor in the death and

injuries sustained in this accident.



                                   IX. Count 4 - Failure to Recall

       9.01    Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., knew or should have known of a risk of harm to the user of the tire in question

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and/or such tires generally, and as such breached their duty to recall this tire. The defects of the tire

in question were in fact known to exist much earlier. Failure to recall this tire added to its defective

condition and was an additional factor in the death and injuries sustained in this accident.



                                       X. Count 5 - Negligence

        10.01 Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., were negligent in development, and/or design, and/or manufacturing, and/or

sales, and/or distribution, of the tire in question, in that this tire was not free from defects and was

inherently unsafe, and that these defendants knew or should have known this. The injuries and

damages of Plaintiffs are a direct and proximate result of the negligence of Defendants, DUNLOP,

LTD. and GOODYEAR DUNLOP TIRES NORTH AMERICA, LTD. Defendants, DUNLOP,

LTD. and GOODYEAR DUNLOP TIRES NORTH AMERICA, LTD., through their agents,

servants and employees failed to exercise that level of care that a reasonably prudent manufacturer

would exercise under the same or similar circumstances. The acts and omissions constituting

negligence on the part of Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES

NORTH AMERICA, LTD.’s agents, servants and employees include but are not limited to the

following:

        a.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
                AMERICA, LTD. failed to warn of the inherent dangers in the design and
                construction of the tire and specifically did not provide adequate warnings
                of the propensity and/or dangers of a tread separation;

        b.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
                AMERICA, LTD. failed to warn that a tread separation would dramatically
                alter the handling and stability capabilities of the vehicle, thus making
                difficult if not impossible to operate the vehicle in a safe manner;

        c.      Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
                AMERICA, LTD. designed and manufactured the subject tire without a
                nylon cap to so as to reduce the degrading heat effects along the belt edge;

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       d.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. designed, manufactured, and sold the subject tire with
              materials contaminated from foreign substances. The contamination
              occurred as a result of improper handling, storage and use of the tire
              components;

       e.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. failed to design and build a tire that would not
              catastrophically fail during it’s normal and intended use;

       f.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. failed to properly inspect and test the subject tire;

       g.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. failed to maintain and/or establish adequate quality control
              parameters to ensure the product met internal design and manufacturing
              standards;

       h.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. failed to warn that the components of the tire and/or the
              adhesive properties bonding the components of the tire might prematurely
              fail prior to any outward visible defect that the owner could observe;

       i.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. failed to use materials in the construction of the subject
              tire that would maintain their adhesive qualities; and

       j.     Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH
              AMERICA, LTD. failed to adequately test the subject tire to determine if it
              was safe for the consuming public.


       10.02 Each of such acts and omissions singularly or in combination with others constituted

negligence, which proximately caused the severe injuries and damages suffered by Plaintiffs and

complained of herein.



                                XI. Count 6 - Gross Negligence

       11.01 Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., were grossly negligent in the development, and/or design, and/or manufacturing,



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and/or sales, and/or distribution, of the tire in question in that this tire was not free from defects and

was inherently unsafe. It is believed and conceivable that testing to discover this defect was

available, it is also believed and conceivable that the results of such testing was readily available at

the time the tire in question was designed, manufactured, distributed, and/or purchased. If in fact

such testing was available at the time the tire in question was designed, manufactured, distributed,

and/or purchased, an element of gross negligence would certainly exist.



                               XII. Count 7 - Fraudulent Concealment

        12.01 Defendants, DUNLOP, LTD. and GOODYEAR DUNLOP TIRES NORTH

AMERICA, LTD., deliberately and with forethought, fraudulently concealed known or suspected

defects in the development, and/or design, and/or manufacturing, and/or sales, and/or distribution,

of the tire in question, in that this tire was not free from known or suspected defects and was

inherently unsafe. It is believed and conceivable that new testing to discover this defect was

developed, it is also believed and conceivable that the results of such testing was readily available

at the time the tire in question was designed and or purchased. It is also believed and conceivable

that previous studies were conducted which were not disclosed which indicated such defects.

Hence, it is not unfair to allege that these Defendants, in all probability, knew or should have known

about this existing defect long before the accident made the basis of this lawsuit.



                   XIII. Count 8 – Survival Claim and Wrongful Death Claim

        13.01 Plaintiff, ESTHER CHAVEZ, on behalf of, JOSE CARLOS ESQUIVEL CHAVEZ,

A Minor Child And Next Kin of Raul Esquivel Navarrete (Deceased), who brings her claims on

behalf of the minor child as next of kin and sole remaining heir at law of Decedent, RAUL

ESQUIVEL NAVARRETE, of wrongful death against Defendants, DUNLOP, LTD. and

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GOODYEAR DUNLOP TIRES NORTH AMERICA, LTD., alleging that all of the acts of neglect,

carelessness, and unskillfulness, or similar acts of their servant’s or agent’s, as listed in Counts 1-8,

are the direct and proximate cause of the death of his father. As a result of the death of his father,

as set forth herein, JOSE CARLOS ESQUIVEL CHAVEZ has suffered a loss of consortium and

irreparable injury to the familial relationship, including loss of society and companionship, and has

experienced the severe loss of the positive benefits flowing from the love, companionship and

society he would have continued to receive from his father.

        13.02 At the time of the occurrence made the basis of this suit, RAUL ESQUIVEL

NAVARRETE was a healthy, able-bodied twenty-three year old male. As a result of his severe

injuries, and prior to his death, RAUL ESQUIVEL NAVARRETE experienced severe and disabling

physical pain, disfigurement and suffering, ultimately resulting in a horrific and excruciating death.

Defendants’ acts and omissions as set forth herein proximately caused the fatal injuries to RAUL

ESQUIVEL NAVARRETE. By reason of his injuries and death, Plaintiff, ESTHER CHAVEZ, on

behalf of, JOSE CARLOS ESQUIVEL CHAVEZ, A Minor Child And Next Kin of Raul Esquivel

Navarrete (Deceased), as an heir of RAUL ESQUIVEL NAVARRETE, brings this claim for all

damages for physical pain, suffering, mental anguish and all other damages sustained in the past,

as a proximate result of the accident made the basis of this lawsuit, by RAUL ESQUIVEL

NAVARRETE.

        13.03 Accordingly, Plaintiff, ESTHER CHAVEZ, on behalf of, JOSE CARLOS

ESQUIVEL CHAVEZ, A Minor Child And Next Kin of Raul Esquivel Navarrete (Deceased), seek

to recover a sum of money that would fairly and reasonably compensate JOSE CARLOS

ESQUIVEL CHAVEZ for the damages he has suffered resulting from the termination of the father-

son relationship, including loss of the love, comfort, companionship and society that they would,

in all reasonable probability, have received from RAUL ESQUIVEL NAVARRETE had he lived.

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Plaintiff also seeks compensation for the emotional pain, torment, and mental anguish that he has

and/or will suffered to date and, in all reasonable probability, will continue to suffer in connection

with the untimely death of his beloved father.



                                XIV. General and Special Damages

       14.01 The general and special damages sought under a wrongful death theory pursuant to

TCPRC § 71.001-71.003, and under a survivors cause of action pursuant to TCPRC § 71.021, which

are liquidated, are in the minimum amount of $1,000,000.00, and a maximum amount of

$6,000,000.00.

       14.02 The general and special damages sought are as follows:

               a)      Mental anguish;
               b)      Pain and suffering of RAUL ESQUIVEL NAVARRETE;
               c)      Pecuniary loss to an heir of decedent;
               d)      Loss of consortium with respect to the son of decedent;


                                     XV. Exemplary Damages

       15.01 The exemplary damages sought are in the minimum amount of $4,000,000.00, and

the maximum amount of $24,000,000.00, but in no event to exceed four times the amount of general

damages awarded.



                                      XVI. Demand for Jury

       16.01 Plaintiffs demand a jury trial and have tendered the appropriate fee.




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                                               Prayer

       For the reasons set out in this first amended petition, Plaintiffs ask that Defendants be cited

to appear and answer and, on final trial, that Plaintiffs have judgment against the Defendants for the

following:

       a.      Actual and Economic damages;
       b.      Exemplary damages as allowed by law;
       c.      Mental anguish damages within the jurisdictional limits of the court;
       d.      Prejudgment and post-judgment interest as allowed by law;
       e.      Costs of suit;
       f.      All other relief, in law and in equity, to which plaintiff may be entitled;


                                                        Respectfully submitted,

                                                        STEFANIDES AND ASSOCIATES, LLP


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